Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 1 of 30 Page ID #:113




 1     Craig B. Sanders, Esq. (284397)
       csanders@sanderslawpllc.com
 2     SANDERS LAW, PLLC
 3     100 Garden City Plaza, Suite 500
       Garden City, NY 11530
 4     Telephone: (516) 203-7600
 5     Facsimile: (516) 281-7601
 6
       Attorneys for Defendant
 7     Barcroft Media, Ltd.
 8
                          UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10
11                                        Case No.: 2:17-cv-02644-JFW-AS
12
       JEFFREY WERNER,
13
                                          Hon. John F. Walter
14                 Plaintiff,
15                                        DEFENDANT BARCROFT MEDIA,
             vs.                          LTD.’s NOTICE OF MOTION
16                                        PURSUANT TO FED. R. CIV. PRO.
17     BARCROFT MEDIA, LTD. and           12(b)(6) TO DISMISS COMPLAINT
       VALNET, INC.,                      AND MEMORANDUM OF POINTS
18                                        AND AUTHORITIES IN SUPPORT
19                 Defendants.            THEREOF
20
                                          Date:      September 11, 2017
21                                        Time:      1:30 PM
22                                        Courtroom: 7A

23                                        Action Filed: April 6, 2017
24
                                          Answer Date: July 31, 2017
25
26
27
28

               NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                               CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 2 of 30 Page ID #:114




 1                        NOTICE OF MOTION AND MOTION

 2     TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3           NOTICE IS HEREBY GIVEN that on Monday, September 11, 2017—
 4     or on such date thereafter that the Court deems appropriate—at 1:30 PM in
 5     Courtroom 7A of the above-captioned Court, located at 350 W. 1st Street, Los
 6     Angeles, CA 90012, Defendant BARCROFT MEDIA, LTD., will and hereby
 7     does move this Court, pursuant to Rule 12(b)(6) of the Federal Rules of Civil
 8     Procedure for an Order dismissing the case as against BARCROFT MEDIA,
 9     LTD., on the grounds that the Complaint fails to state a claim upon which relief
10     can be granted as against BARCROFT MEDIA, LTD., and for such other and
11     further relief as this Court deems just, appropriate and proper.
12           This Motion is based on this Notice of Motion and Memorandum of
13
       Points and Authorities In Support Thereof filed concurrently herewith; the
14
       pleadings and papers on file in this action; and upon such oral and documentary
15
       evidence as may be presented at the hearing of this matter, if any.
16
             This Motion is made following the conference of counsel pursuant to
17
       Local Rule 7-3, which took place on multiple dates, including June 21, 2017,
18
       July 19, 2017 and July 24, 2017. Despite good faith effort by counsel for
19
       Defendant, the parties were unable to reach a resolution that would eliminate the
20
       need to bring this Motion.
21
22     Dated:       July 31, 2017

23                                            SANDERS LAW PLLC

24                                         By /s/ Craig B. Sanders
                                             Craig B. Sanders
25                                           Attorneys for Defendant
26                                           Barcroft Media, Ltd.
27
28

                NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 3 of 30 Page ID #:115




 1                                            TABLE OF CONTENTS

 2     TABLE OF CONTENTS ......................................................................................... i
 3     TABLE OF AUTHORITIES ...................................................................................ii
 4     MEMORANDUM OF POINTS AND AUTHORITIES......................................... 1
 5        A.     INTRODUCTION ....................................................................................... 1
 6        B.     JURISDICTION AND VENUE .................................................................. 3
 7        C.     SUMMARY OF PROCEDURAL POSTURE ............................................ 4
 8        D.     FACTS ......................................................................................................... 5
 9     ARGUMENT ......................................................................................................... 12
10
         I.      Barcroft Is Entitled to an Order Dismissing the Claims Against It ........... 12
11
               A. Standard of Review................................................................................ 13
12
               B. Plaintiff Has Failed to State a Claim for Contributory Copyright
13
                     Infringement .......................................................................................... 15
14
               C. Plaintiff has Failed to State a Claim for Vicarious Copyright
15
                     Infringement .......................................................................................... 18
16
               D. The Alleged License Agreement Between Barcroft and Valnet
17
                    Does not Support a Claim of Copyright Liability .................................. 20
18
19       II. The Dismissal Sought Herein Should be with Prejudice .............................. 22

20
21
22
23
24
25
26
27
28
                                              -i-
                   NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                   CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 4 of 30 Page ID #:116




 1                                        TABLE OF AUTHORITIES

 2     Cases
 3     A & M Records, Inc. v. Napster, Inc.,
         239 F.3d 1004 (9th Cir. 2001) ......................................................................... 17
 4
 5     Ashcroft v. Iqbal,
         556 U.S. 662, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) ................................. 14
 6
 7     Bell Atlantic Corp. v. Twombly,
         550 U.S. 544, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007) ................................. 14
 8
 9     Campbell v. Trustees of Stanford University,
         817 F.2d 499 (9th Cir. 1987). .......................................................................... 22
10
       Carr v. U.S.,
11
         560 U.S. 438 (2010)......................................................................................... 17
12
       Cedars–Sinai Med. Ctr. v. Nat'l League of Postmasters of U.S.,
13       497 F.3d 972 (9th Cir. 2007) ........................................................................... 14
14
       Eden Toys, Inc. v. Florlee Undergarment Co., Inc.,
15       697 F.2d 27 (2d Cir. 1982) .............................................................................. 22
16
       EEOC v. Waffle House, Inc.,
17       534 U.S. 279, 122 S.Ct. 754, 151 L.Ed.2d 755 (2002) ................................... 23
18
       Ellison v. Robertson,
19       357 F.3d 1072 (9th Cir. 2004) ................................................................... 16, 19
20     Fonovisa, Inc. v. Cherry Auction, Inc.,
21       76 F.3d 259 (9th Cir. 1996) ............................................................................. 19
22     Gershwin Publ'g Corp. v. Columbia Artists Mgmt., Inc.,
23       443 F.2d 1159 (2d Cir. 1971) .......................................................................... 17
24     Kiser v. General Electric Corp.,
25       831 F.2d 423, 428 (3d Cir.1987), cert. denied, 485 U.S. 906 (1988) ............. 24
26     Kuschner v. Nationwide Credit, Inc.,
27       256 F.R.D. 684 (E.D. Cal. 2009) ..................................................................... 24

28
                                             - ii -
                  NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                  CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 5 of 30 Page ID #:117




 1     Miller v. Rykoff–Sexton, Inc.,
         845 F.2d 209 (9th Cir. 1988) ........................................................................... 24
 2
       Navarro v. Block,
 3
         250 F.3d 729 (9th Cir. 2001) ........................................................................... 14
 4
       Perfect 10, Inc. v. Giganews, Inc.,
 5       847 F.3d 657 (9th Cir. 2017) ........................................................................... 16
 6
       Perfect 10, Inc. v. Visa Int'l Serv., Ass'n,
 7       494 F.3d 788 (9th Cir. 2007) ........................................................................... 16
 8
       Roy Export Co. Establishment v. Columbia 104 Broad. Sys., Inc.,
 9       503 F.Supp. 1137 (S.D.N.Y. 1980) ................................................................. 23
10
       Tresona Multimedia, LLC v. Burbank High School Vocal Music
11       Association, et al. Additional Party Names: Josh Greene,
12       2017 WL 2728589 (C.D. Cal. 2017) ............................................................... 16

13     U.S. Naval Institute v. Charter Communications, Inc.,
         936 F.2d 692 (2d Cir. 1991) ............................................................................ 22
14
15     W. Mining Council v. Watt,
         643 F.2d 618 (9th Cir. 1981) ........................................................................... 15
16
17     Warren v. Fox Family Worldwide, Inc.,
        328 F.3d 1136 (9th Cir. 2003) ......................................................................... 15
18
19     Williams v. Scribd, Inc.,
         No. 09CV1836-LAB WMC, 2010 WL 10090006 (S.D. Cal. June 23,
20       2010) ................................................................................................................ 15
21
22
       Statutes
23
24     17 U.S.C.
         § 106 ................................................................................................................ 21
25
26     28 U.S.C.
         §1331 ................................................................................................................. 4
27       §1338 ................................................................................................................. 4
28       §1391(a)(2) ........................................................................................................ 4

                                             - iii -
                   NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                   CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 6 of 30 Page ID #:118




 1
       Fed. R. Civ Pro.
 2       8(a)(2) .............................................................................................................. 14
 3       12(b) ....................................................................................................... 2, 15, 23
         12(b)(6) .................................................................................................. 1, 14, 24
 4       15(a). ................................................................................................................ 23
 5
 6
       Treatises
 7
       3 Nimmer § 12.02 ................................................................................................ 22
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             - iv -
                   NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                   CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 7 of 30 Page ID #:119




 1                    DEFENDANT BARCROFT MEDIA, LTD.’S
                    MEMORANDUM OF POINTS AND AUTHORITIES
 2
 3           Defendant BARCROFT MEDIA, LTD. (“Barcroft”) by and through its
 4     undersigned counsel and pursuant to Rule 12(b)(6) of the Federal Rules of Civil
 5     Procedure, hereby moves this Court for Entry of an Order dismissing the Second
 6     and Third Counts for relief in the Complaint filed by Plaintiff JEFFREY
 7     WERNER (“Plaintiff” or “Werner”) herein, and in support thereof states as
 8     follows:
 9           A.       INTRODUCTION
10
           1.         This is an action alleging claims of Copyright Infringement. In the
11
       Complaint, Plaintiff alleges that Defendant VALNET, INC. (“Valnet”) directly
12
       infringed his copyrights in eight (8) identified works by posting Plaintiff’s
13
       photographs and/or videos to Valnet’s website and/or on Valnet’s YouTube
14
       channel, and that such posting was without license or permission from Plaintiff
15
       (First Claim for Relief).
16
           2.         Plaintiff also asserts two claims for relief against Barcroft: one
17
       claim for contributory copyright infringement (Second Claim for Relief) and one
18
       claim for vicarious copyright infringement (Third Claim for Relief).
19
           3.         Barcroft now moves this Court to dismiss the Complaint against it
20
       by reason of Plaintiff’s failure to have stated a claim upon which relief can be
21
       granted.
22
           4.         As the Court will see, the Complaint is nearly silent as to any
23
       alleged acts of Barcroft. Indeed, setting aside the portion of the Complaint that
24
       describes the nature of the action and the identity of the parties, Barcroft is
25
       mentioned in only eighteen (18) of the one hundred fifteen (115) paragraphs of
26
       the Complaint – and only eleven (11) of those paragraphs are even marginally
27
       substantive.
28
                                             -1-
                  NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                  CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 8 of 30 Page ID #:120




 1         5.       With respect to those paragraphs, although it is ordinarily the
 2     standard that the Court is required to take the allegations in the Complaint as
 3     true for the purposes of a Rule 12(b) motion, the Court need not get that far in
 4     this case. More specifically (and fundamentally), the entire basis of Plaintiff’s
 5     claims against Barcroft is that after Valnet directly infringed on Plaintiff’s
 6     copyrights, Barcroft allegedly entered into a “sham back-license agreement” for
 7     Valnet’s use of the photographs, and that Barcroft purportedly did not have
 8     Plaintiff’s authority to grant such a license. Stated otherwise, the Complaint
 9     acknowledges – as it must – that Barcroft did not become a part of the story until
10     after the “crime” had been committed. This fact alone should be dispositive
11     and, therefore, the Court should not need to get to the point of determining
12     whether Plaintiff’s allegations are truly factual – as opposed to being conclusory
13     or mere formulaic recitations of the legal elements of a claim – because the
14     Copyright Act does not provide for accessory-after-the-fact liability to a party
15     that had no connection to the infringements when they occurred.
16         6.       This puts Barcroft in the somewhat awkward position of essentially
17     having to prove a negative on this motion, because we should not have to get to
18     a discussion of the case law – which would still show that Barcroft bears no
19     liability to Plaintiff – until such time that Plaintiff has actually put Barcroft at
20     the proverbial ‘scene of the crime,’ which he has not.
21         7.       Assuming arguendo that the Court gets beyond this threshold
22     determination, the instant motion still must be granted. More specifically, even
23     if the allegations of the Complaint are taken to be true, and even if the after-the-
24     fact timing of Barcroft’s involvement was not relevant, Plaintiff has still failed
25     to state a claim against Barcroft upon which relief can be granted. This is
26     because, in order to state a claim for contributory copyright infringement,
27     Plaintiff must prove that Barcroft had knowledge of the infringing activity, and
28     did something to ‘induce, cause or materially contribute to it.’ Here, because
                                           -2-
                NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 9 of 30 Page ID #:121




 1     Plaintiff avers that Barcroft did not become aware of Valnet’s use of Plaintiff’s
 2     photographs until after the theft and use, it is beyond cavil that Barcroft could
 3     neither have caused nor ‘materially contributed’ to the infringement.
 4         8.       The same is true of Plaintiff’s claim against Barcroft for vicarious
 5     infringement. In order to establish such a claim, Plaintiff must allege facts
 6     sufficient to show that Barcroft not only had the right and ability to control
 7     Valnet, but that it profited from Valnet’s infringements. In this case, Plaintiff
 8     does nothing more than summarily state that Barcroft purportedly had the right
 9     and ability to control Valnet, but provides no facts to support that conclusion. In
10     fact, Plaintiff cannot. Instead, once again overlooking the fact that Barcroft’s
11     first involvement with Valnet occurs months after the infringement had already
12     occurred, even in the light most favorable to the Plaintiff Barcroft is akin to the
13     credit card processors who have been found not to be liable for vicarious
14     copyright infringement merely because their customers have used the credit
15     cards to make purchases from direct copyright infringers’ websites. Simply
16     stated, the alleged ‘right and ability’ to control does not exist and, therefore, the
17     Court need not reach the question of whether Barcroft profited from Valnet’s
18     infringements as is alleged.
19         9.       At the end of the day, Plaintiff’s claims against Barcroft must fail
20     because Plaintiff is attempting to impute what is essentially accessory after-the-
21     fact liability to Barcroft, however, the law does not provide for such liability.
22     To the contrary, under the law of this Circuit, there is a “but for” test for claims
23     of secondary copyright infringement. On these facts, there is no cause for relief
24     as against Barcroft as a putative secondary infringer under the Copyright Act.
25
26           B.     JURISDICTION AND VENUE
27
          10.       This Court has subject-matter jurisdiction over claims for copyright
28
                                           -3-
                NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 10 of 30 Page ID #:122




  1     infringement pursuant to 28 U.S.C. §1338, as well as federal question
  2     jurisdiction under 28 U.S.C. §13311.
  3        11.         Venue is proper under 28 U.S.C. §1391(a)(2) in this Judicial
  4     District because Barcroft has a presence in Judicial District2.
  5
  6            C.      SUMMARY OF PROCEDURAL POSTURE
  7
           12.         Plaintiff commenced this action upon the filing of a Complaint with
  8
        this Court on April 6, 2017 [ECF Doc. 1, et seq.].
  9
           13.         Barcroft executed a Rule 4 waiver of service on May 1, 2017 [ECF
 10
        Doc. 12].
 11
           14.         On June 28, 2017, Plaintiff and Barcroft executed a Stipulation
 12
        extending Barcroft’s time to Answer the Complaint [ECF Doc. 13]. The Court
 13
        approved the Stipulation on July 6, 2017, setting the date for Barcroft to Answer
 14
        or otherwise move with respect to the Complaint on or before July 31, 2017
 15
        [ECF Doc. 15].
 16
           15.         On July 5, 2017, the Court entered an Order setting the initial
 17
        scheduling conference for August 328, 2017 [ECF Doc. 14].
 18
           16.         On July 24, 2017, Plaintiff filed a request for the Clerk to issue a
 19
        Summons to Valnet [ECF Doc. 16]. The Summons was issued on July 25, 2017
 20
        [ECF Doc. 17].
 21
 22
 23
 24
 25     1      This statement is limited to the fact that the Complaint alleges claims of secondary
        copyright infringement as against Barcroft, and is admitted for purposes of this motion only.
 26     Should the claims as pled against Barcroft be dismissed, Barcroft reserves its right to contest
 27     this Court’s subject matter jurisdiction over it.
        2       Venue is conceded as proper only to the extent that this Court has subject matter
 28     jurisdiction over this dispute.
                                             -4-
                  NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                  CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 11 of 30 Page ID #:123




  1            D.      FACTS

  2
           17.         The facts of this case are taken from the Complaint filed in this
  3
        action [ECF Doc. 1, et seq.]3.
  4
           18.         Plaintiff is an individual and a photographer, residing in Los
  5
        Angeles, California [Id. at ¶ 9, 14]. Over the course of his career, Plaintiff has
  6
        developed a portfolio of work that covers a wide range of subjects [Id. at ¶ 14].
  7
           19.         Plaintiff earns income from licensing his photographs [Id. at ¶ 15].
  8
           20.         Barcroft is a Limited company duly organized and existing under
  9
        the laws of the United Kingdom [Id. at ¶ 10]. Barcroft’s business is comprised
 10
        of licensing copyrighted images and videos, among other things, to media
 11
        clients throughout the world [Id.].
 12
           21.         Valnet is a Canadian corporation with offices in Quebec, Canada,
 13
        and a branch office in Los Angeles, California [Id. at ¶ 11]. Valnet operates a
 14
        website named “theRICHEST,” located at www.therichest.com. According to
 15
        VALNET, therichest.com is one of the biggest online luxury and entertainment
 16
        magazines with over 28 million visits per month and 150,000,000 monthly page
 17
        views [Id. at ¶ 50].
 18
           22.         Relative to the instant case, Plaintiff alleges that he is the owner of:
 19
                           a. An unspecified number of pictures and videos of Stacy
 20
                               Herald, a two-foot four-inch tall pregnant woman (the
 21
                               “World’s Smallest Mom Photographs”) [Id. at ¶¶ 23-28].
 22
                               Plaintiff alleges that the World’s Smallest Mom Photographs
 23
                               were taken in or about May of 2009, but were not registered
 24
 25
 26
 27     3      At the outset of this section, Barcroft notes that the instant Statement of Facts is
        primarily intended to show the Court that the Complaint does not (and cannot) introduce
 28     Barcroft to the story until after the alleged direct infringements by Valnet occurred.
                                             -5-
                  NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                  CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 12 of 30 Page ID #:124




  1                      with the United States Copyright Office (the “USCO”) until
  2                      October 29, 2009 [Id. at ¶¶ 23, 26];
  3                   b. An unspecified number of pictures of “Giant George,” a
  4                      seven-foot long Great Dane who at the time was being
  5                      discussed as a contender for the title of “World’s Tallest
  6                      Dog” (the “Giant George Photographs”) [Id. at ¶¶ 29-31].
  7                      Plaintiff alleges that the Giant George Photographs were
  8                      taken on or about November 4, 2009, and were purportedly
  9                      registered with the USCO on November 11, 2009 [Id. at ¶¶
 10                      29, 31];
 11                   c. An unspecified number of pictures of Erika Ervin, the
 12                      “World’s Tallest Professional Model” (the “Amazon Eve
 13                      Photographs”) [Id. at ¶¶ 32-34].       Plaintiff avers that the
 14                      Amazon Eve Photographs were taken “in or about 2010” and
 15                      were purportedly registered with the USCO on October 25,
 16                      2010 [Id. at ¶¶ 32, 34];
 17                   d. An unspecified number of pictures of an unnamed woman
 18                      from Rochester, New York, who had started a business
 19                      known as “the Snuggery” (the “Snuggery Photographs”) [Id.
 20                      at ¶¶ 35-37]. Plaintiff avers that the Snuggery Photographs
 21                      were taken “in or about August, 2012, and were purportedly
 22                      registered with the USCO on October 25, 2012 [Id. at ¶¶ 35,
 23                      37];
 24                   e. An unspecified number of pictures of Barb Guerra, a double-
 25                      amputee and bodybuilder (the “Amputee Bodybuilder
 26                      Photographs”) [Id. at ¶¶ 38-40].       Plaintiff avers that the
 27                      Amputee Bodybuilder Photographs were taken “in or about
 28                      late 2013 or early 2014” and were purportedly registered
                                          -6-
               NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                               CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 13 of 30 Page ID #:125




  1                        with the USCO on or about January 24, 2014 [Id.];
  2                     f. An unspecified number of pictures of Miss Iowa Nicole
  3                        Kelly, a beauty pageant winner who was born without her
  4                        left forearm (the “Miss Iowa Photographs”) [Id. at ¶¶ 41-43].
  5                        Plaintiff does not state when the Miss Iowa Photographs
  6                        were allegedly taken, but avers that they were registered with
  7                        the USCO on February 10, 2014 [Id.];
  8                     g. An unspecified number of pictures of “Wild Thing” a 2100-
  9                        pound bison living with its Texas owners (the “Wild Thing
 10                        Photographs”) [Id. at ¶¶ 44-46]. Plaintiff does not state when
 11                        the Wild Thing were allegedly taken, but avers that they were
 12                        registered with the USCO on May 16, 2014 [Id.];
 13                     h. An unspecified number of pictures of Lori and George
 14                        Schappell, conjoined twins joined at the head (the
 15                        “Conjoined Twins Photographs”) [Id. at ¶¶ 47-49]. Plaintiff
 16                        avers that the Conjoined Twins Photographs were taken on
 17                        or about February 26, 2008, and that they were purportedly
 18                        registered with the USCO “effective as of March 10, 2009”
 19                        [Id.].
 20        23.       On or about February 27, 2015, through its theRICHEST website,
 21     Valnet published an article and accompanying video titled “The 10 Oddest
 22     Mothers in the World,” which contained several of Plaintiff’s World’s Smallest
 23     Mom Photographs [Id. at ¶ 58]. Plaintiff avers that Valnet’s reproduction and
 24     distribution of the World’s Smallest Mom Photographs was unauthorized and
 25     would therefore constitute a direct copyright infringement [Id. at ¶ 59].
 26        24.       On or about March 20, 2015, through its theRICHEST website,
 27     Valnet published an article titled “15 Of The Easiest And Best Paying Jobs in
 28     2015,” which contained several of Plaintiff’s The Snuggery Photographs [Id. at
                                            -7-
                 NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                 CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 14 of 30 Page ID #:126




  1     ¶ 60]. Plaintiff avers that Valnet’s reproduction and distribution of the Snuggery
  2     Photographs was unauthorized and therefore constitutes a direct copyright
  3     infringement [Id. at ¶ 62].
  4        25.       In 2015, through its theRICHEST YouTube channel, Valnet
  5     published a video titled “10 Most Unusual Pets Ever,” which contained several
  6     of Plaintiff’s Giant George Photographs [Id. at ¶ 63]. In 2015, through its
  7     theRICHEST YouTube channel, Valnet published a video titled “The Biggest
  8     Dogs That Actually Exist,” which also contained several of Plaintiff’s Giant
  9     George Photographs [Id. at ¶ 64]. Plaintiff avers that Valnet’s reproduction and
 10     distribution of the Giant George Photographs was unauthorized and therefore
 11     constitutes a direct copyright infringement [Id. at ¶ 65].
 12        26.       In 2015, through its theRICHEST website, Valnet published an
 13     article and accompanying video titled “10 Most Unusual Fashion Models,”
 14     which contained several of Plaintiff’s Amazon Eve photographs [Id. at ¶ 66]. In
 15     2015, through its theRICHEST YouTube channel, Valnet posted a video titled
 16     “10 Women You Won’t Believe Exist,” which again contained several of
 17     Plaintiff’s Amazon Eve photographs [Id. at ¶ 67]. Plaintiff avers that Valnet’s
 18     reproduction and distribution of the Amazon Eve Photographs was unauthorized
 19     and therefore constitutes a direct copyright infringement [Id. at ¶ 68].
 20        27.       In 2015, through its theRICHEST YouTube channel, Valnet
 21     published a video titled “10 Most Unusual Bodybuilders in The World,” which
 22     contained several of Plaintiff’s Amputee Bodybuilder Photographs [Id. at ¶ 69].
 23     Plaintiff avers that Valnet’s reproduction and distribution of the Amputee
 24     Bodybuilder Photographs was unauthorized and therefore constitutes a direct
 25     copyright infringement [Id. at ¶ 70].
 26        28.       In 2015, through its theRICHEST YouTube channel, Valnet
 27     published a video titled “Strange Beauty Pageants Around The World,” which
 28     contained several of Plaintiff’s Miss Iowa Photographs [Id. at ¶ 71]. Plaintiff
                                            -8-
                 NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                 CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 15 of 30 Page ID #:127




  1     avers that Valnet’s reproduction and distribution of the Miss Iowa Photographs
  2     was unauthorized and therefore constitutes a direct copyright infringement [Id.
  3     at ¶ 72].
  4        29.         On or about May 6, 2016, through its theRICHEST YouTube
  5     channel, Valnet published a video titled “The Most Unusual Pets People
  6     Actually Own,” which contains several of Plaintiff’s Wild Thing Photographs
  7     [Id. at ¶ 73]. Plaintiff avers that Valnet’s reproduction and distribution of the
  8     Wild Thing Photographs was unauthorized and therefore constitutes a direct
  9     copyright infringement [Id. at ¶ 74].
 10        30.         Plaintiff avers that he discovered Valnet’s infringement of
 11     Plaintiff’s Smallest Mom Photographs in or about late May of 2015 [Id. at ¶ 75].
 12     The Complaint does not allege that Barcroft knew of Valnet’s infringement at
 13     this particular time. The Complaint does not allege that Plaintiff addressed
 14     Valnet’s infringement with Barcroft at this time. To the contrary, the Complaint
 15     alleges that Plaintiff first addressed Valnet’s infringement with Barcroft on or
 16     about June 17, 2016 [Id. at ¶ 22].
 17        31.         Plaintiff avers that he discovered Valnet’s infringement of
 18     Plaintiff’s Giant George Photographs in or about late May of 2015 [Id. at ¶ 76].
 19     The Complaint does not allege that Barcroft knew of Valnet’s infringement at
 20     this particular time. The Complaint does not allege that Plaintiff addressed
 21     Valnet’s infringement with Barcroft at this time. To the contrary, the Complaint
 22     alleges that Plaintiff first addressed Valnet’s infringement with Barcroft on or
 23     about June 17, 2016 [Id. at ¶ 22].
 24        32.         Plaintiff avers that he discovered Valnet’s infringement of
 25     Plaintiff’s Amazon Eve Photographs in or about May of 2015 [Id. at ¶ 77]. The
 26     Complaint does not allege that Barcroft knew of Valnet’s infringement at this
 27     particular time. The Complaint does not allege that Plaintiff addressed Valnet’s
 28     infringement with Barcroft at this time. To the contrary, the Complaint alleges
                                               -9-
                    NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                    CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 16 of 30 Page ID #:128




  1     that Plaintiff first addressed Valnet’s infringement with Barcroft on or about
  2     June 17, 2016 [Id. at ¶ 22].
  3        33.       Plaintiff avers that he discovered Valnet’s infringement of
  4     Plaintiff’s Snuggery Photographs in or about May of 2015 [Id. at ¶ 78]. The
  5     Complaint does not allege that Barcroft knew of Valnet’s infringement at this
  6     particular time. The Complaint does not allege that Plaintiff addressed Valnet’s
  7     infringement with Barcroft at this time. To the contrary, the Complaint alleges
  8     that Plaintiff first addressed Valnet’s infringement with Barcroft on or about
  9     June 17, 2016 [Id. at ¶ 22].
 10        34.       Plaintiff avers that he discovered Valnet’s infringement of
 11     Plaintiff’s Amputee Bodybuilder Photographs in or about late May of 2015 [Id.
 12     at ¶ 79].    The Complaint does not allege that Barcroft knew of Valnet’s
 13     infringement at this particular time. The Complaint does not allege that Plaintiff
 14     addressed Valnet’s infringement with Barcroft at this time. To the contrary, the
 15     Complaint alleges that Plaintiff first addressed Valnet’s infringement with
 16     Barcroft on or about June 17, 2016 [Id. at ¶ 22]
 17        35.       Plaintiff avers that he discovered Valnet’s infringement of
 18     Plaintiff’s Miss Iowa Photographs in or about May of 2016 [Id. at ¶ 80].
 19        36.       Plaintiff avers that he discovered Valnet’s infringement of
 20     Plaintiff’s Wild Thing Photographs in or about May of 2016 [Id. at ¶ 81].
 21        37.       Plaintiff avers that he discovered Valnet’s infringement of
 22     Plaintiff’s Conjoined Twins Photographs in or about May of 2016 [Id. at ¶ 82].
 23        38.       In or about 2004, Plaintiff and Barcroft entered into an agreement
 24     whereby Barcroft was authorized to license and distribute Plaintiff’s
 25     photographs within the United Kingdom [Id. at ¶ 17]. The agreement left open
 26     the possibility for Barcroft to license or distribute Plaintiff’s photographs outside
 27     of the United Kingdom, however, such licenses would be negotiated on a case-
 28     by-case basis [Id.].
                                           - 10 -
                 NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                 CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 17 of 30 Page ID #:129




  1        39.       The Complaint goes on to allege that at “sometime” in 2015,
  2     Barcroft became aware that Valnet was using “certain” of Plaintiff’s
  3     photographs without Plaintiff’s permission (along with several dozen
  4     photographs and/or videos owned by Barcroft that Valnet was using without
  5     Barcroft’s license, permission or other authorization) [Id. at ¶ 20]. This is the
  6     first time the Complaint alleges that Barcroft and Valnet became aware of each
  7     other.
  8        40.       The Complaint next alleges that, on or about December 30, 2015,
  9     Barcroft signed a licensing deal with Valnet, granting Valnet access to
 10     Barcroft’s imagery and video content for use across their various media brands
 11     [Id. at ¶ 10, 21]. While Plaintiff avers that he “never approved or authorized
 12     such an agreement” [Id. at ¶ 21], the Complaint does not allege that the
 13     December 30, 2015 agreement between Barcroft and Valnet covered any of
 14     Plaintiff’s works.
 15        41.       Instead, Plaintiff alleges that Barcroft purportedly entered into a
 16     separate “sham back-license” with Valnet for Plaintiff’s photographs at issue
 17     here, and that Barcroft allegedly knew that it was not authorized to license such
 18     photographs [Id. at ¶ 98].
 19        42.       From these allegations alone, Plaintiff alleges that Barcroft and/or
 20     its agents were the “active, conscious, and moving force behind all of the
 21     infringements” described in the Complaint [Id. at ¶ 21].
 22        43.       Barcroft now moves this Court pursuant to Fed. R. Civ. Pro.
 23     12(b)(6) for an Order dismissing the claims asserted against it by reason of
 24     Plaintiff’s failure to have stated a claim upon which relief can be granted.
 25
 26
 27
 28
                                           - 11 -
                 NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                 CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 18 of 30 Page ID #:130




  1                                         ARGUMENT

  2        I.     Barcroft Is Entitled to an Order Dismissing the Claims Against It
  3
  4        44.       Barcroft is entitled to dismissal of the secondary infringement

  5     claims asserted against it because, even if the scant allegations in the Complaint

  6     against Barcroft are taken as true, the Complaint still fails to state a claim upon

  7     which relief can be granted. More specifically, the Complaint establishes that

  8     Barcroft did not know of Valnet’s infringements until after they occurred (and

  9     until after Plaintiff himself had discovered at least half of them).

 10        45.       This is a critical point for a number of reasons but, most notably,

 11     because the facts show that Barcroft had no relationship whatsoever with Valnet

 12     at the time the infringements occurred. All of the case law either inculpating or

 13     exculpating a third-party from secondary copyright liability for the direct

 14     infringement of another begins with the third-party having some form of then

 15     existing relationship with the direct infringer at the time of the infringement.

 16     Here, the Complaint acknowledges (as it must) that Barcroft and Valnet had no

 17     relationship at the time of the alleged infringements.

 18        46.       Plaintiff’s entire theory against Barcroft is that Barcroft purportedly

 19     gave Valnet a “sham back-license” after the infringements occurred, and that

 20     Plaintiff did not authorize Barcroft to issue that license. On the facts, as pled,

 21     Barcroft could not have ‘induced, caused or have materially contributed to’ the

 22     infringements, as would be required to prevail on a claim of contributory

 23     infringement, because the infringements had already occurred at the time

 24     Barcroft is ‘introduced into the story.’ Similarly, there are no allegations in the

 25     Complaint to show that Barcroft had the “right and ability to control” Valnet, as

 26     would be necessary to prevail on a claim of vicarious copyright infringement

 27     (other than one conclusory sentence in the Third Claim for Relief) at the time

 28     the direct infringement occurred.

                                           - 12 -
                 NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                 CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 19 of 30 Page ID #:131




  1        47.        For all these reasons, as well as those set forth infra, the Court
  2     should dismiss the Complaint as against Barcroft.
  3
                    A. Standard of Review
  4
  5        48.        “A rule 12(b)(6) motion to dismiss for failure to state a claim
  6     challenges the legal sufficiency of a complaint.” Williams v. Scribd, Inc., 2010
  7     WL 10090006 *2 (S.D. Cal. 2010) citing Navarro v. Block, 250 F.3d 729, 732
  8     (9th Cir. 2001). “In considering such a motion, the Court accepts all allegations
  9     of material fact as true and construes them in the light most favorable to the non-
 10     moving party.”       Id. citing Cedars–Sinai Med. Ctr. v. Nat'l League of
 11     Postmasters of U.S., 497 F.3d 972, 975 (9th Cir. 2007).
 12        49.        Although the Complaint need only satisfy the requirements of Fed.
 13     R. Civ Pro. 8(a), it still must be sufficient to show that “the pleader is entitled to
 14     relief.”    Fed. R. Civ Pro. 8(a)(2). As the Supreme Court has held, while the
 15     factual allegations are not required to be overly detailed, they must be sufficient
 16     to “raise a right to relief above the speculative level....” Bell Atlantic Corp. v.
 17     Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007) (“some
 18     threshold of plausibility must be crossed at the outset before a … case should be
 19     permitted to go into its inevitably costly and protracted discovery phase”) Id. at
 20     558 quoting Asahi Glass Co. v. Pentech Pharmaceuticals, Inc., 289 F.Supp.2d
 21     986, 995 (N.D. Ill. 2003).
 22        50.        A claim has “facial plausibility when the plaintiff pleads factual
 23     content that allows the court to draw the reasonable inference that the defendant
 24     is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct.
 25     1937, 1949, 173 L.Ed.2d 868 (2009) (“The plausibility standard is not akin to a
 26     ‘probability requirement,’ but it asks for more than a sheer possibility that a
 27     defendant has acted unlawfully”) Id.
 28
                                             - 13 -
                   NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                   CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 20 of 30 Page ID #:132




  1        51.        Although Rule 12(b) requires the Court to accept all facts in a
  2     Complaint as true, the same does not apply to legal conclusions masquerading as
  3     factual allegations. See, e.g., Warren v. Fox Family Worldwide, Inc., 328 F.3d
  4     1136, 1139 (9th Cir. 2003) (“[w]e do not ... necessarily assume the truth of legal
  5     conclusions merely because they are cast in the form of factual allegations”)
  6     (quoting W. Mining Council v. Watt, 643 F.2d 618, 624 (9th Cir. 1981)). A
  7     Complaint will be insufficient where, as here, it tenders nothing more than
  8     ‘naked assertions devoid of further factual enhancement.’ Iqbal, 556 U.S. at
  9     677.      Indeed, as the Supreme Court held in Twombly, ‘a mere formulaic
 10     recitation of the elements of a cause of action will not do.’ Twombly, 550 U.S.
 11     at 555.
 12        52.        In this case, the Complaint is far from a “model of lucidity.”
 13     Williams v. Scribd, Inc., No. 09CV1836-LAB WMC, 2010 WL 10090006 (S.D.
 14     Cal. June 23, 2010) at *1.       Indeed, the Complaint fails to set forth any
 15     discernable timeline and tends to focus on facts pertaining to Plaintiff, which
 16     can only be viewed as an effort to put some factual predicate into the Complaint,
 17     while distracting from the fact that the Complaint is nearly silent as to any
 18     alleged acts of Barcroft. Further to this point, when Plaintiff is unable to
 19     attribute any wrongdoing to Barcroft specifically, the Court will see that the
 20     Complaint switches to the pronoun “Defendants” in place of either of them, to
 21     further mask the lack of factual predicate.
 22        53.        For example, Plaintiff repeatedly avers that “Defendants’ [sic.]
 23     unauthorized reproduction and distribution of the [name of set] Photographs has
 24     continued, uninterrupted, since they were posted to theRICHEST’s website.”
 25     See, e.g., Dkt. 1 at ¶¶ 59, 62, 65, 68, 70, 72, 74. The above allegations are
 26     clearly designed to conceal the fact that Plaintiff cannot attribute any such
 27     alleged acts of wrongdoing as against Barcroft. More specifically, there are no
 28     allegations that Barcroft had access to theRICHEST’s website and/or that
                                             - 14 -
                   NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                   CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 21 of 30 Page ID #:133




  1     Barcroft actually posted any content thereto. To the contrary, the Complaint
  2     alleges that Valnet is solely responsible for its websites. See, e.g., Dkt. 1 at ¶¶
  3     50-55.
  4        54.        In light of the foregoing, it is easy to see that the Complaint fails to
  5     satisfy the Iqbal-Twombly standard as against Barcroft, insofar as it contains
  6     nothing more than naked assertions devoid of further factual enhancement. As
  7     was stated above, however, even if Plaintiff’s naked assertions were deemed to
  8     be true, Plaintiff cannot get around the fact that he does not (and cannot)
  9     introduce Barcroft to the story until after Valnet allegedly infringed on his
 10     copyrights.
 11        55.        For these reasons, as well as those set forth herein, the Complaint
 12     must be dismissed as against Barcroft.
 13
 14               B. Plaintiff Has Failed to State a Claim for Contributory
                     Copyright Infringement
 15
 16        56.        The Second Claim for Relief in the Complaint asserts a claim
 17     against Barcroft for contributory copyright infringement.
 18        57.        Contributory copyright infringement is “a form of secondary
 19     liability with roots in the tort-law concepts of enterprise liability and imputed
 20     intent.” Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 670 (9th Cir. 2017)
 21     quoting Perfect 10, Inc. v. Visa Int'l Serv., Ass'n, 494 F.3d 788, 794–95 (9th Cir.
 22     2007).
 23        58.        As Judge Wilson of this Court recently observed, a defendant is
 24     contributorily liable “if [it has] knowledge of the infringing activity and induces,
 25     causes or materially contributes to the infringing conduct.” Tresona Multimedia,
 26     LLC v. Burbank High School Vocal Music Association, et al. Additional Party
 27     Names: Josh Greene, 2017 WL 2728589 (C.D. Cal. 2017) quoting Ellison v.
 28     Robertson, 357 F.3d 1072, 1076 (9th Cir. 2004) (citing Gershwin Publ'g Corp.
                                           - 15 -
                 NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                 CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 22 of 30 Page ID #:134




  1     v. Columbia Artists Mgmt., Inc., 443 F.2d 1159, 1162 (2d Cir. 1971)) (internal
  2     quotations omitted) (brackets added).
  3        59.       It is axiomatic that Barcroft did nothing to induce, cause or
  4     materially contribute to Valnet’s alleged infringement because these words are
  5     used in the present tense and one cannot ‘induce, cause or materially contribute’
  6     to an event that occurred in the past. See, e.g., Carr v. U.S., 560 U.S. 438 (2010)
  7     (“words used in the present tense include the future as well as the present,” 1
  8     U.S.C. § 1, implies that the present tense generally does not include the past”).
  9     Here, the claims against Barcroft must fail because the Complaint alleges that
 10     Barcroft did not come to know of Valnet’s alleged infringement of Plaintiff’s
 11     works until after they occurred.
 12        60.       Further to this point, the Ninth Circuit has found that contributory
 13     liability will not attach unless the defendant “engages in personal conduct that
 14     encourages or assists the infringement.” A & M Records, Inc. v. Napster, Inc.,
 15     239 F.3d 1004, 1019 (9th Cir. 2001) (internal citations omitted) (emphasis
 16     added). This is yet another example of where the verbs (“encourage” and
 17     “assist”) are used in the present tense, and this requirement was further endorsed
 18     by the Supreme Court in Metro–Goldwyn–Mayer Studios, Inc. v. Grokster, Ltd.,
 19     wherein the Court adopted from patent law the concept of “inducement” and
 20     found that “[o]ne infringes contributorily by intentionally inducing or
 21     encouraging direct infringement.” 545 U.S. 913, 930, 125 S.Ct. 2764, 162
 22     L.Ed.2d 781 (2005); Amazon.com, 487 F.3d (“an actor may be contributorily
 23     liable [under Grokster] for intentionally encouraging direct infringement if the
 24     actor knowingly takes steps that are substantially certain to result in such direct
 25     infringement”).
 26        61.       Despite the well-settled requirements to state a claim for
 27     contributory infringement, the Complaint falls woefully short of the burden of
 28     pleading – let alone the burden of proof. As was discussed above, to state a
                                           - 16 -
                 NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                 CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 23 of 30 Page ID #:135




  1     claim of contributory infringement, Plaintiff must allege facts sufficient to show
  2     that Barcroft undertook actions that would currently or prospectively induce,
  3     cause, or materially contribute to the infringing conduct. See, e.g., Ellison, 357
  4     F.3d at 1076. Here, the Complaint fails to do so.
  5        62.       While the Complaint purports to allege sufficient facts to support a
  6     claim of direct infringement as against Valnet, it does not allege any sufficient
  7     predicate to state a claim for contributory infringement as against Barcroft.
  8     More specifically, Plaintiff does not allege that any infringing material passed
  9     over or through Barcroft systems or that Barcroft’s systems were used to alter or
 10     display the infringing images. Instead, the entire claim is based upon Barcroft’s
 11     alleged knowledge of Valnet’s infringement(s) and its purported issuance of a
 12     retroactive license after the direct infringement had allegedly already transpired.
 13     This does not establish that Barcroft knew of Valnet’s infringing activity at the
 14     time that it occurred. To the contrary, the allegation that Barcroft entered into a
 15     “sham [sic.] back-license” shows that Barcroft did not know of the alleged
 16     infringements until after they occurred.
 17        63.       In light of the foregoing, even if all of the facts alleged in the
 18     Complaint were true, Valnet’s alleged infringing conduct was performed
 19     exclusively by Valnet without Barcroft’s knowledge and/or involvement at the
 20     time of the infringement. The entry of a retroactive license agreement does not
 21     alter and/or contribute to the already completed conduct by Valnet. This is
 22     critical, because the law of the Ninth Circuit establishes a “but-for” test for
 23     contributory infringement. Simply, even if Barcroft did not enter into any
 24     agreement with Valnet there would still have been infringement by Valnet.
 25        64.       As a result, the Complaint fails to allege any set of facts under
 26     which Barcroft could be contributorily liable for Valnet’s alleged infringements.
 27
 28
                                           - 17 -
                 NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                 CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 24 of 30 Page ID #:136




  1               C. Plaintiff has Failed to State a Claim for Vicarious Copyright
                     Infringement
  2
  3        65.       The Third Claim for Relief of the Complaint seeks to hold Barcroft
  4     liable for vicarious copyright infringement. Vicarious infringement is a concept
  5     related to, but distinct from, contributory infringement. Whereas contributory
  6     infringement is based on tort-law principles of enterprise liability and imputed
  7     intent, vicarious infringement finds its roots in the agency principles of
  8     respondeat superior. See, e.g., Fonovisa, Inc. v. Cherry Auction, Inc., 76 F.3d
  9     259, 261-262 (9th Cir. 1996).
 10        66.       To state a claim for vicarious copyright infringement, a plaintiff
 11     must allege that the defendant has: (1) the right and ability to supervise the
 12     infringing conduct; and (2) a direct financial interest in the infringing activity.
 13     Ellison, 357 F.3d at 1078; Napster, 239 F.3d at 1022 (citations omitted). The
 14     Supreme Court has recently offered an alternate formulation of the test: “One ...
 15     infringes vicariously by profiting from direct infringement while declining to
 16     exercise a right to stop or limit it.” Grokster, 545 U.S. at 930, 125 S.Ct. 2764
 17     (internal citations omitted).
 18        67.       In this case, Plaintiff has failed to allege any facts sufficient for the
 19     Court to find that Barcroft had the right and ability to supervise and/or control
 20     Valnet. Instead, the entire basis of Plaintiff’s claim in this regard is summarized
 21     in one conclusory sentence of the Complaint, to wit: “Barcroft has the ability to
 22     oversee and control the infringing activity of Valnet, through its purported 2015
 23     licensing agreement with Valnet, and also by their [sic.] control of photographic
 24     and videographic property which Barcroft has been given permission to license
 25     and distribute within the United Kingdom.” Dkt. 1 at ¶ 109.
 26        68.       Even if this conclusory statement were supported by specific
 27     factual allegations in the Complaint – which it is not – the existence of a limited
 28     business relationship between Barcroft and Valnet in the form of the licensing

                                           - 18 -
                 NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                 CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 25 of 30 Page ID #:137




  1     agreement does not confer on Barcroft the requisite degree of ‘right and ability
  2     to supervise’ the infringing conduct within the meaning of the case law. The
  3     facts in Perfect 10, Inc. v. Visa Intern. Service Ass'n (supra), are instructive on
  4     this point.
  5        69.        In Visa Intern. Service Ass'n, Perfect 10 brought claims against
  6     Visa (and other credit card grantors) for inter alia, secondary copyright
  7     infringement. The claims were grounded in the contention that Visa (and the
  8     other lender-defendants) continued to process credit card charges incurred by
  9     customers to acquire the infringing images.
 10        70.        In support of its claim for vicarious copyright infringement, Perfect
 11     10 alleged that the Visa defendants had the right and ability to control the
 12     content of the infringing websites because they could have refused to process
 13     credit card payments to the websites. Perfect 10 further argued that the
 14     contractual terms between the website owners and the credit card companies
 15     effectively gave the credit card companies contractual control over the content
 16     of their merchants' websites, and that the contractual control over the content
 17     was sufficient to establish the “right and ability” to control that content for
 18     purposes of vicarious liability.
 19        71.        The Ninth Circuit disagreed with Perfect 10 and held that, “even
 20     with all reasonable inferences drawn in Perfect 10's favor, Perfect 10's
 21     allegations of fact cannot support a finding that Defendants have the right and
 22     ability to control the infringing activity.” Visa Intern. Service Ass'n, 494 F.3d at
 23     803 simply by being in contract with the infringer to provide access to its
 24     payment services network.
 25        72.        While Visa Intern. strongly supports Barcroft’s position, to wit, that
 26     the license agreement between Barcroft and Valnet is legally insufficient to
 27     provide the requisite right and ability to control infringing activity, the critical
 28     difference between this case and Visa Intern. Service Ass'n, however, is that the
                                           - 19 -
                 NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                 CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 26 of 30 Page ID #:138




  1     Visa defendants had a relationship with the infringing websites at the time the
  2     infringements occurred. As has been stated throughout this memorandum, no
  3     such relationship existed between Barcroft and Valnet at the time the
  4     infringements occurred.
  5        73.       Further, as noted above, even if the parties had a relationship at that
  6     time, under the holding in Visa Intern. Service Ass'n, requires the conclusion
  7     that Barcroft did not have the requisite degree of control over Valnet to be held
  8     secondarily liable as an infringer. This is because “the mere ability to withdraw
  9     a financial “carrot” does not create the “stick” of “right and ability to control”
 10     that vicarious infringement requires.” Visa Intern. Service Ass'n, 494 F.3d at
 11     803.
 12        74.       In sum, “[t]o find that [Barcroft’s] activities fall within the scope of
 13     such tests would require a radical and inappropriate expansion of existing
 14     principles of secondary liability and would violate the public policy of the
 15     United States.” Visa Intern. Service Ass'n, 494 F.3d at 795.
 16
 17               D. The Alleged License Agreement Between Barcroft and Valnet
                     Does not Support a Claim of Copyright Liability
 18
 19        75.       To the extent that the claims against Barcroft appear to find their
 20     roots in the contention that Barcroft purportedly did not have the right to issue a
 21     license to Valnet on behalf of Plaintiff, such allegations also do not give rise to a
 22     claim for contributory or vicarious infringement as against Barcroft. This is
 23     because the right to sue for an accrued claim for infringement is not an exclusive
 24     right under 17 U.S.C. § 106. Section 201(d) of the Copyright Act refers to
 25     exclusive rights and provides:
 26               The ownership of a copyright may be transferred in whole or
 27               in part by any means of conveyance or by operation of law,
 28               and may be bequeathed by will or pass as personal property

                                           - 20 -
                 NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                 CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 27 of 30 Page ID #:139




  1                by the applicable laws of intestate succession. Any of the
  2                exclusive rights comprised in a copyright, including any
  3                subdivision of any of the rights specified by section 106, may
  4                be transferred as provided by clause (1) and owned
  5                separately. The owner of any particular exclusive right is
  6                entitled, to the extent of that right, to all of the protection and
  7                remedies accorded to the copyright owner by this title.
  8     17 U.S.C. § 201(d).
  9        76.        Exclusive rights in a copyright may be transferred and owned
 10     separately, but §201(d) creates no exclusive rights other than those listed in
 11     §106, nor does it create an exception to § 501(b).
 12        77.        The courts have consistently held that a non-exclusive license
 13     conveys no ownership interest, and the holder of a nonexclusive license may not
 14     sue others for infringement. See Eden Toys, Inc. v. Florlee Undergarment Co.,
 15     Inc., 697 F.2d 27, 32 (2d Cir. 1982) (“The Copyright Act authorizes only two
 16     types of claimants to sue for copyright infringement: (1) owners of copyrights,
 17     and (2) persons who have been granted exclusive licenses by owners of
 18     copyrights”) (citations omitted).
 19        78.        An exclusive license, on the other hand, conveys an ownership
 20     interest. See Campbell v. Trustees of Stanford University, 817 F.2d 499, 504
 21     (9th Cir. 1987).       Accordingly an exclusive licensee may sue others for
 22     infringement, including the licensor – if the licensor infringes on the exclusive
 23     right he granted the licensee. See U.S. Naval Institute v. Charter
 24     Communications, Inc., 936 F.2d 692, 695 (2d Cir. 1991) (citing 3 Nimmer §
 25     12.02).
 26        79.        The foregoing is relevant because, if it is Plaintiff’s contention that
 27     Barcroft did not have authority to issue a retroactive license to Valnet on behalf
 28     of Plaintiff, the issuance of such license would not impair Plaintiff’s rights as
                                            - 21 -
                  NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                  CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 28 of 30 Page ID #:140




  1     against Valnet. This is because a retroactive license or assignment that purports
  2     to eliminate the accrued causes of action for infringement held by a co-owner
  3     (here, Plaintiff) who is not party to the license or agreement, would not be
  4     binding on the co-owner/non-party under the fundamental principle of contract
  5     law prohibiting parties to a contract from binding nonparties. See, e.g., EEOC v.
  6     Waffle House, Inc., 534 U.S. 279, 294, 122 S.Ct. 754, 151 L.Ed.2d 755 (2002)
  7     (“It goes without saying that a contract cannot bind a nonparty.”) (parentheticals
  8     added). Moreover, a co-owner (or non-exclusive licensor) who purports to
  9     convey not only his right to prosecute past infringements but also his co-owners'
 10     (or non-exclusive licensor) right to prosecute past infringements violates the
 11     basic rule that an owner cannot convey more than he owns. See Roy Export Co.
 12     Establishment v. Columbia 104 Broad. Sys., Inc., 503 F.Supp. 1137, 1153
 13     (S.D.N.Y. 1980) (“[I]t is axiomatic that no one can convey more than his own
 14     interest in a work.”).
 15        80.       Based on the existing case law, regardless of the geographic scope
 16     of the agency issues raised by the Complaint, the agreement between Barcroft
 17     and Valnet could not legally have resolved any prior infringing uses by Valnet
 18     vis-à-vis Plaintiff. By the same token, it does not give rise to any cause of
 19     action by Plaintiff against Barcroft as an alleged contributory or vicarious
 20     infringer.
 21
 22           II.    The Dismissal Sought Herein Should be with Prejudice

 23        81.       When faced with a motion to dismiss under Rule 12(b), a plaintiff
 24     may seek leave to amend his pleading under Fed. R. Civ. Pro. 15(a).
 25        82.       Although leave should be “freely given when justice so requires,”
 26     an exception to that rule is when the putative amendment would be futile.
 27     “Leave to amend should not be granted where amendment would be futile.
 28
                                           - 22 -
                 NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                 CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 29 of 30 Page ID #:141




  1     Kuschner v. Nationwide Credit, Inc., 256 F.R.D. 684, 687 (E.D. Cal. 2009)
  2     citing Miller v. Rykoff–Sexton, Inc., 845 F.2d 209, 214 (9th Cir. 1988); Kiser v.
  3     General Electric Corp., 831 F.2d 423, 428 (3d Cir.1987), cert. denied, 485 U.S.
  4     906, 108 S.Ct. 1078, 99 L.Ed.2d 238 (1988).
  5        83.       “The test for futility is identical to the one used when considering
  6     the sufficiency of a pleading challenged under Rule 12(b)(6).” Id. citing Miller,
  7     845 F.2d at 214. “Accordingly, a proposed amendment is futile only if no set of
  8     facts can be proved under the amendment to the pleading that would constitute a
  9     valid and sufficient claim or defense.” Id.
 10        84.       In this case, any putative amendment to the Complaint by Plaintiff
 11     would be futile because the Complaint already establishes – as it must – that the
 12     relationship between Barcroft and Valnet did not come into being until after the
 13     alleged infringements occurred. Stated otherwise, there is no way for Plaintiff to
 14     amend the Complaint so as to put Barcroft in the proverbial room at the time
 15     that the crime was committed.
 16        85.       For all these reasons, it is respectfully requested that the Court
 17     grant the instant motion and dismiss the claims as against Barcroft with
 18     prejudice, together with such other and further relief as this Court deems just,
 19     equitable and proper.
 20
 21                                            SANDERS LAW PLLC
 22
                                            By /s/ Craig B. Sanders
 23                                           Craig B. Sanders
 24                                           Attorneys for Plaintiff
 25
 26
 27
 28
                                           - 23 -
                 NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                 CASE NO. 17-02644-JFW-AS
Case 2:17-cv-02644-JFW-AS Document 18 Filed 07/31/17 Page 30 of 30 Page ID #:142




  1                            CERTIFICATE OF SERVICE

  2
        I hereby certify that this document filed through the ECF system will be sent
  3     electronically to the registered participants as identified on the Notice of
  4     Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
  5     registered participants on July 31, 2017.

  6
  7                                                  /s Craig B. Sanders
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                          - 24 -
                NOTICE, MOTION AND P&AS IN SUPPORT OF MOTION TO DISMISS
                                CASE NO. 17-02644-JFW-AS
